Case 3:10-cv-03561-WHA Document 581-4 Filed 10/28/11 Page 1 of 12




                    Exhibit B
     Case 3:10-cv-03561-WHA Document 581-4 Filed 10/28/11 Page 2 of 12



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18

19                                   UNITED STATES DISTRICT COURT

20                              NORTHERN DISTRICT OF CALIFORNIA

21                                      SAN FRANCISCO DIVISION

22   ORACLE AMERICA, INC.                                   Case No. 3:10-cv-03561-WHA
23                      Plaintiff,                          PLAINTIFF’S CORRECTED
                                                            REQUESTS FOR PRODUCTION OF
24          v.                                              DOCUMENTS AND THINGS TO
                                                            DEFENDANT GOOGLE INC., SET
25   GOOGLE INC.                                            TWO (82-130)
26                      Defendant.                          Dept.: Courtroom 9, 19th Floor
                                                            Judge: Honorable William H. Alsup
27

28
     PLAINTIFF ORACLE AMERICA, INC.’S CORRECTED SECOND SET OF REQUESTS FOR PRODUCTION (82-130)
     CASE NO. 3:10-CV-03561-WHA
     pa- 1443693
     Case 3:10-cv-03561-WHA Document 581-4 Filed 10/28/11 Page 3 of 12



 1   PROPOUNDING PARTY:             PLAINTIFF ORACLE AMERICA, INC.
 2   RESPONDING PARTY:              DEFENDANT GOOGLE INC.
 3   SET: TWO (REQUESTS 82-130)
 4           In accordance with Federal Rule of Civil Procedure 34, Plaintiff Oracle America, Inc.
 5   (“Oracle”) hereby requests Defendant Google Inc. (“Google”) to produce for inspection, copying,
 6   and photographing the documents and things set forth below at the office of Morrison & Foerster
 7   LLP, 755 Page Mill Road, Palo Alto, California 94304 at 10:00 a.m. within 30 days from the date
 8   of service of this request.
 9                                 DEFINITIONS AND INSTRUCTIONS
10           As used below, the following terms have the meanings indicated:
11           1.      “Java Platform” refers to the Java programming language, the Java compiler, the
12   Java Virtual Machine, the Java Development Kit, the Java Runtime Environment, the Just-In-
13   Time compiler, Java class libraries, Java application programming interfaces, and Java
14   specifications and reference implementations.
15           2.      “Android” means “the Android Platform” and “Android” as referred to in
16   Google’s Answer (Docket No. 32) at Background ¶ 12 and in Google’s Answer to Amended
17   Complaint (Docket No. 51) at Background ¶ 12 and at Factual Background ¶¶ 11-17, and
18   includes any versions thereof (whether released or unreleased) and related public or proprietary
19   source code, executable code, and documentation.
20           3.      “Patents-in-Suit” refers to U.S. Reissue Patent No. RE38,104, and U.S. Patent
21   Nos. 5,966,702; 6,061,520; 6,125,447; 6,192,476; 6,910,205; and 7,426,720.
22           4.      “Document,” “documents,” “tangible thing,” or “tangible things” shall have the
23   broadest possible meaning permitted by Federal Rules of Civil Procedure 26 and 34 and the
24   relevant case law.
25           5.      In directing these requests to Google, we seek documents and tangible things
26   available to Google, including those relating to companies Google has acquired (such as Android,
27   Inc.). These requests require you to produce those documents and tangible things that are in your
28   actual or constructive possession, custody, or control.
     PLAINTIFF ORACLE AMERICA, INC.’S CORRECTED SECOND SET OF REQUESTS FOR PRODUCTION (82-130)          1
     CASE NO. 3:10-CV-03561-WHA
     pa- 1443693
     Case 3:10-cv-03561-WHA Document 581-4 Filed 10/28/11 Page 4 of 12



 1                                    REQUESTS FOR PRODUCTION
 2   REQUEST FOR PRODUCTION NO. 82:

 3          Documents relating to Google’s acquisition of Android Inc., including the acquisition

 4   agreement, and technology or intellectual property rights and know-how licensing agreements.

 5   REQUEST FOR PRODUCTION NO. 83:

 6          Documents reflecting or relating to Google’s business case for acquiring AdMob,

 7   including documents related to due diligence, valuation, and acquisition price.

 8   REQUEST FOR PRODUCTION NO. 84:

 9          Documents relating to AdMob’s business operations, revenue generation, revenue sharing

10   with application developers, profitability and cost, and service of other operating systems in

11   addition to Android.

12   REQUEST FOR PRODUCTION NO. 85:

13          Documents reflecting or relating to communications with Oracle or Sun concerning the

14   Java Platform or Android.

15   REQUEST FOR PRODUCTION NO. 86:

16          Documents sufficient to identify any intellectual property rights that you contend are

17   essential to practice each release of each Android specification.

18   REQUEST FOR PRODUCTION NO. 87:

19          Documents relating to the filing of this lawsuit by Oracle, including without limitation

20   communications by Google employees on or after the date of the filing of this lawsuit concerning

21   the claims asserted by Oracle.

22   REQUEST FOR PRODUCTION NO. 88:

23          Documents reflecting or relating to any actual or projected Google revenue and profits in

24   connection with any sales, licenses or any other activity relating to Android, including profit and

25   loss statements, income statements, any other financial statements or projections, and documents

26   that describe, analyze or comment on such actual or projected revenues and profits.

27

28
     PLAINTIFF ORACLE AMERICA, INC.’S CORRECTED SECOND SET OF REQUESTS FOR PRODUCTION (82-130)             2
     CASE NO. 3:10-CV-03561-WHA
     pa- 1443693
     Case 3:10-cv-03561-WHA Document 581-4 Filed 10/28/11 Page 5 of 12



 1   REQUEST FOR PRODUCTION NO. 89:
 2          Documents reflecting or relating to any actual or projected revenue and profits by Google
 3   in connection with or derived from the licensing, sale, or any other activity relating to
 4   applications written to or licensed or sold in connection with Android, including profit and loss
 5   statements, income statements, any other financial statements or projections, and documents that
 6   describe, analyze or comment on such actual or projected revenues and profits.
 7   REQUEST FOR PRODUCTION NO. 90:
 8          Documents reflecting or relating to any actual or projected revenue and profits by Google
 9   in connection with or derived from the operation of Android Market including profit and loss
10   statements, income statements, any other financial statements or projections, and documents that
11   describe, analyze or comment on such actual or projected revenues and profits.
12   REQUEST FOR PRODUCTION NO. 91:
13          Documents reflecting or relating to any actual or projected revenue and profits by Google
14   in connection with advertising on devices running Android, including profit and loss statements,
15   income statements, any other financial statements or projections, and documents that describe,
16   analyze or comment on such actual or projected revenues and profits.
17   REQUEST FOR PRODUCTION NO. 92:
18          All agreements between Google and application developers concerning the development
19   or distribution of applications for mobile devices or to run on Android, including agreements
20   concerning the embedding of advertising in any application.
21   REQUEST FOR PRODUCTION NO. 93:
22          Documents sufficient to show Google’s actual and projected revenue and profits in
23   connection with advertising on mobile devices not running Android.
24   REQUEST FOR PRODUCTION NO. 94:
25          Documents reflecting or relating to Google revenue from application registration fees and
26   the license, sale or distribution of those applications, including profit and loss statements, income
27   statements, and any other financial statements or projections..
28
     PLAINTIFF ORACLE AMERICA, INC.’S CORRECTED SECOND SET OF REQUESTS FOR PRODUCTION (82-130)           3
     CASE NO. 3:10-CV-03561-WHA
     pa- 1443693
     Case 3:10-cv-03561-WHA Document 581-4 Filed 10/28/11 Page 6 of 12



 1   REQUEST FOR PRODUCTION NO. 95:
 2          Documents reflecting or relating to Android’s unit, usage or other share of mobile device
 3   operating systems.
 4   REQUEST FOR PRODUCTION NO. 96:
 5          Documents reflecting or relating to Android’s share of revenues from the sales of
 6   applications for mobile devices.
 7   REQUEST FOR PRODUCTION NO. 97:
 8          Documents relating to the statement of Andy Rubin, Google VP of Mobile Platforms, at
 9   Dive Into Mobile that Android “is profitable if broken out as a separate business” and that even
10   though Google does not charge for the product, profitability is in “the millions.”
11   REQUEST FOR PRODUCTION NO. 98:
12          Documents relating to the statement of Eric Schmidt, as reported by the Wall Street
13   Journal, that “Google is positioning itself to earn $10 billion or more per year in the mobile
14   device business, thanks to its Android operating system.”
15   REQUEST FOR PRODUCTION NO. 99:
16          Documents relating to the statement of Eric Schmidt, as reported by Newsweek, that
17   “Android-based phones already generate enough new advertising revenue to cover the cost of the
18   software’s development.”
19   REQUEST FOR PRODUCTION NO. 100:
20          Documents reflecting or relating to the profitability of Google's mobile business,
21   including profit and loss statements, income statements, and any other financial statements or
22   projections.
23   REQUEST FOR PRODUCTION NO. 101:
24          Documents reflecting or relating to Google’s research and development budget, plans,
25   projections, or expenditures relating to Android.
26   REQUEST FOR PRODUCTION NO. 102:
27          Documents reflecting or relating to any evaluation or consideration of any alternatives to
28   the Java Platform, any portion of the Java Platform, or any of the Patents-in-Suit for use in
     PLAINTIFF ORACLE AMERICA, INC.’S CORRECTED SECOND SET OF REQUESTS FOR PRODUCTION (82-130)           4
     CASE NO. 3:10-CV-03561-WHA
     pa- 1443693
     Case 3:10-cv-03561-WHA Document 581-4 Filed 10/28/11 Page 7 of 12



 1   Android or any other operating system for mobile devices, including the cost, viability or
 2   availability of any such alternatives, and time that would be involved for the development of
 3   these alternative designs.
 4   REQUEST FOR PRODUCTION NO. 103:
 5          Documents reflecting or relating to any actual or potential interpretation by Google or
 6   anyone acting on Google’s behalf of the meaning of FRAND or RAND licensing requirements.
 7   REQUEST FOR PRODUCTION NO. 104:
 8          Documents reflecting or relating to any actual or potential fragmentation of Android,
 9   including the cause of any such fragmentation, Google’s evaluation of such fragmentation, and
10   any steps Google has taken or has considered taking to avoid or remedy such fragmentation.
11   REQUEST FOR PRODUCTION NO. 105:
12          Documents reflecting or relating to any effort by Android Inc. or Google to avoid, modify
13   or work around any of the Patents-in-Suit, including any effort to modify Android or any other
14   mobile operating system or platform to avoid practicing the Patents-In-Suit or create a product on
15   which the Patents-In-Suit did or do not read.
16   REQUEST FOR PRODUCTION NO. 106:
17          Documents reflecting or relating to the actual or potential impact on Google of the use of
18   mobile operating systems other than Android.
19   REQUEST FOR PRODUCTION NO. 107:
20          Documents reflecting or relating to the actual or potential impact of Android on Google’s
21   share of any markets for, or sales of, mobile search and mobile advertising.
22   REQUEST FOR PRODUCTION NO. 108:
23          Documents relating to the actual or potential impact of Android on Google’s share of any
24   markets for, or sales of any, applications available on mobile devices.
25   REQUEST FOR PRODUCTION NO. 109:
26          Documents discussing Android Honeycomb or any version of Android intended to be
27   used on tablets, including any business case for entry into the tablet space, projections of revenue
28
     PLAINTIFF ORACLE AMERICA, INC.’S CORRECTED SECOND SET OF REQUESTS FOR PRODUCTION (82-130)           5
     CASE NO. 3:10-CV-03561-WHA
     pa- 1443693
     Case 3:10-cv-03561-WHA Document 581-4 Filed 10/28/11 Page 8 of 12



 1   related to tablets, and impact of entry into the tablet space on Google or Android’s search
 2   business, application business, or application business.
 3   REQUEST FOR PRODUCTION NO. 110:
 4          Documents reflecting or relating to any competition between operating systems for mobile
 5   devices, including Android, the Java Platform, and any other operating system or platform for
 6   mobile devices.
 7   REQUEST FOR PRODUCTION NO. 111:
 8          Documents reflecting or relating to actual or projected demand for Android or any other
 9   operating system for mobile devices.
10   REQUEST FOR PRODUCTION NO. 112:
11          Documents reflecting or relating to any revenue derived from the sale, use, licensing or
12   other activities relating to Android by any third party.
13   REQUEST FOR PRODUCTION NO. 113:
14          Documents reflecting or relating to any actual or potential license negotiations or
15   discussions between Google and Oracle.
16   REQUEST FOR PRODUCTION NO. 114:
17          All agreements between Google and mobile handset or mobile device manufacturers,
18   including licensing agreements, distribution agreements, development agreements, advertisement
19   agreements, and any agreements related to Android applications.
20   REQUEST FOR PRODUCTION NO. 115:
21          Documents reflecting or relating to any Google strategy involving or including not relying
22   on any competitor mobile operating system or platform for Android.
23   REQUEST FOR PRODUCTION NO. 116:
24          Documents reflecting or relating to the role of application developers or the growth of
25   applications in the success of Android, including any documents describing or analyzing the
26   importance of attracting developers to the success of Android, documents concerning the number
27   or type of developers Android has or has hoped to attract, and documents related to any steps
28   Google has taken to attract such developers.
     PLAINTIFF ORACLE AMERICA, INC.’S CORRECTED SECOND SET OF REQUESTS FOR PRODUCTION (82-130)         6
     CASE NO. 3:10-CV-03561-WHA
     pa- 1443693
     Case 3:10-cv-03561-WHA Document 581-4 Filed 10/28/11 Page 9 of 12



 1   REQUEST FOR PRODUCTION NO. 117:
 2          Documents sufficient to provide a complete list of all products running Android, or to
 3   your knowledge planned to run Android.
 4   REQUEST FOR PRODUCTION NO. 118:
 5          Documents reflecting or relating to any transition or recruitment of Java developers and
 6   programmers from Android, Sun and/or Oracle to Google.
 7   REQUEST FOR PRODUCTION NO. 119:
 8          Documents reflecting or relating to the portability of applications or programs compatible
 9   with or written to Android.
10   REQUEST FOR PRODUCTION NO. 120:
11          Documents reflecting or relating to any link, connection or relationship between Android
12   and any actual and projected Google or third party revenues or profits.
13   REQUEST FOR PRODUCTION NO. 121:
14          Documents reflecting or relating to public announcements, press releases or media
15   presentations by Google regarding product releases involving Android, or expected profits or
16   revenues related in any way to Android.
17   REQUEST FOR PRODUCTION NO. 122:
18          Documents reflecting or relating to public announcements, press releases or media
19   presentations by Google regarding open source software and the use of Java in reference to the
20   mobile devices industry.
21   REQUEST FOR PRODUCTION NO. 123:
22          Documents reflecting or relating to any actual or potential license negotiations or
23   discussions between Google and the Apache Software Foundation and/or the Java Community
24   Process (JCP) regarding the certification of Apache Harmony.
25   REQUEST FOR PRODUCTION NO. 124:
26          Documents reflecting or relating to any actual or potential loss of third party licensing
27   opportunities by Oracle, including opportunities for the licensing of Java ME or any other
28   product, following the distribution of Android.
     PLAINTIFF ORACLE AMERICA, INC.’S CORRECTED SECOND SET OF REQUESTS FOR PRODUCTION (82-130)          7
     CASE NO. 3:10-CV-03561-WHA
     pa- 1443693
     Case 3:10-cv-03561-WHA Document 581-4 Filed 10/28/11 Page 10 of 12



 1   REQUEST FOR PRODUCTION NO. 125:
 2          Documents relating to Google's past, present and future plans or efforts to use Android,
 3   the Java Platform, or any part or portion of the Java Platform to generate any revenues, sales or
 4   licenses of any product or service.
 5   REQUEST FOR PRODUCTION NO. 126:
 6          Documents relating to any consideration, evaluation or valuation of any alternatives to or
 7   substitutes for the Java Platform or any part or portion thereof for use in Android.
 8   REQUEST FOR PRODUCTION NO. 127:
 9          A copy of the Android Bug Tracking database, information, and reporting system, and
10   copies of documents relating to the Android Bug Tracking database, information, and reporting
11   system.
12   REQUEST FOR PRODUCTION NO. 128:
13          Documents relating to the portions of Google's websites generated revenues, as described
14   in its financial statements, that relate to mobile revenue or Android revenue, profitability or costs.
15   REQUEST FOR PRODUCTION NO. 129:
16          Documents relating to Google's partner sites generated revenues, as described in its
17   financial statements, that relate to mobile revenue or Android revenue, profitability or costs.
18   REQUEST FOR PRODUCTION NO. 130:
19          Documents relating to Google's other revenues, as described in its financial statements,
20   that relate to mobile revenue or Android revenue, profitability or costs.
21   Dated: January 25, 2011                        MICHAEL A. JACOBS
                                                    MARC DAVID PETERS
22                                                  MORRISON & FOERSTER LLP
23
                                                    By: /s/ Richard S. Ballinger
24
                                                           Attorneys for Plaintiff
25                                                         ORACLE AMERICA, INC.
26

27

28
     PLAINTIFF ORACLE AMERICA, INC.’S CORRECTED SECOND SET OF REQUESTS FOR PRODUCTION (82-130)            8
     CASE NO. 3:10-CV-03561-WHA
     pa- 1443693
     Case 3:10-cv-03561-WHA Document 581-4 Filed 10/28/11 Page 11 of 12



 1                                    CERTIFICATE OF SERVICE
             I declare that I am employed with the law firm of Morrison & Foerster LLP, whose address
 2   is 755 Page Mill Road, Palo Alto, California 94304-1018. I am not a party to the within cause,
     and I am over the age of eighteen years.
 3
            I further declare that on January 25, 2011, I served a copy of:
 4
            PLAINTIFF’S CORRECTED REQUESTS FOR PRODUCTION OF
 5          DOCUMENTS AND THINGS TO DEFENDANT GOOGLE INC., SET
 6          TWO (82-130)

 7      :      BY ELECTRONIC SERVICE [Fed. Rule Civ. Proc. rule 5(b)] by electronically
               mailing a true and correct copy through Morrison & Foerster LLP's electronic mail
 8             system to the e-mail address(es) set forth below, or as stated on the attached service
               list per agreement in accordance with Federal Rules of Civil Procedure rule 5(b).
 9

10      Robert F. Perry                                 Timothy T. Scott
        Scott T. Weingaertner                           Geoffrey M. Ezgar
11      Bruce W. Baber                                  Leo Spooner III
        Mark H. Francis                                 KING & SPALDING, LLP
12      Christopher C. Carnaval                         333 Twin Dolphin Drive, Suite 400
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28
     CERTIFICATE OF SERVICE                                                                             1
     CASE NO. 3:10-CV-03561-WHA
     pa- 1443693
     Case 3:10-cv-03561-WHA Document 581-4 Filed 10/28/11 Page 12 of 12



 1      Ian C. Ballon                                   Joseph R. Wetzel
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        East Palo Alto, CA 94303
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        ballon@gtlaw.com                                powersdk@gtlaw.com
 5      meekerh@gtlaw.com
                                                        Fax: 415.707.2010
 6      Fax:    650.328.8508
 7

 8          I declare under penalty of perjury under the laws of the United States that the foregoing is
     true and correct.
 9
            Executed at Palo Alto, California, this 25th day of January, 2011.
10

11

12

13
                  Richard S. Ballinger                             /s/ Richard S. Ballinger
14                      (typed)                                           (signature)

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     CERTIFICATE OF SERVICE                                                                            2
     CASE NO. 3:10-CV-03561-WHA
     pa- 1443693
